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                EXHIBIT 6
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  From: Kate Barton kateh.barton@gmail.com
Subject: Re: Grassroots Analytics
   Date: December 12, 2021 at 2:35 PM
     To: Daniel Ward dan@wardberry.com
    Cc: Kerry McCarthy kerry@wardberry.com, Sarah Carr sarah@wardberry.com


       Hi Dan,

       I hope you are enjoying your weekend. Given that the turnaround time provided for a response is outside
       of business hours, I wanted to respond now in good faith but will have a formal response from my legal
       counsel as soon as possible once business hours resume.

       I will confirm to you that I have never sold "confidential Grassroots files or data" to any business or
       individual mentioned in this letter or otherwise operating as an employee of Grassroots Analytics, as the
       Director of Progressive Donor Advising, or as an individual.

       Eden McKissick-Hawley is a dear, personal friend of mine resulting from our meeting at a DCCC
       training in August of 2019 and I know Eric Coates as a result of that relationship. I have never been in
       contact with Ben Bobo or True Blue Analytics, nor have I ever sold or shared or attempted to sell or share
       "confidential Grassroots files and data" to Ben Bobo or True Blue Analytics directly or indirectly. It is my
       understanding that Eden McKissick-Hawley and Eric Coates both performed business with Grassroots
       Analytics while I was an employee there. Eden McKissick-Hawley was a known client of mine while I
       was Director of Campaign Strategy at Grassroots Analytics and she is the owner of Tall Poppy
       Fundraising, so I will not speak further at this time to what is suggested in your letter. I have never as a
       Grassroots Analytics employee, as the Director of Progressive Donor Advising, or as an individual, sold
       or shared or attempted to sell or share data to Eric Coates or any business entities he may be affiliated
       with.

       I hope that is helpful and enough to satisfy any concerns. As I mentioned, my legal counsel will be in
       touch as soon as possible once business hours resume.

       I look forward to clearing up any additional misunderstanding.

       Best holiday wishes to you and yours,
       Kate Barton




       On Fri, Dec 10, 2021 at 5:07 PM Daniel Ward <dan@wardberry.com> wrote:

         Ms. Barton,



         Please see the attached correspondence. I look forward to your prompt response.



         Thanks,



         Dan
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Daniel S. Ward

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